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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

IN RE:                                         )
                                               )
Stacey Green                                   )     Case # 20-30703-KKS
                                               )     Chapter 7
                                               )
              Debtor(s)                        )

CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE OF
       REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS,
ENCUMBRANCES, AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b),
                        (f), AND (m),
 (II) SURCHARGE AGREEMENT BETWEEN SECURED LENDER AND
                       THE ESTATE,
                  AND (III ) OTHER RELIEF

        Karin A. Garvin (the “Trustee”), duly appointed Chapter 7 Trustee for the

above referenced debtor (the “Debtor”) pursuant to Sections 105 and 363 of the

Bankruptcy Code hereby files this motion (“Motion”) for entry of an order for

authority to sell certain real property free and clear of all liens, encumbrances, and

interests. In support thereof, the Trustee respectfully states as follows:

                                  JURISDICTION

        1.    This Court has jurisdiction to consider this Motion pursuant to

28 U.S.C. §§ 157 and 1334. This matter is a core proceeding within the meaning of

28 U.S.C. § 157(b)(2)(A), (M), (N), and (O).

        2.    Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and

1409.

        3.    The basis for the relief requested are 11 U.S.C. §§ 363(b), (f), and (m),

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Federal Rules of Bankruptcy Procedure 2002 and 6004.

                                  BACKGROUND

      4.     On August 11,2020 the Debtor commenced this case by filing a

voluntary petition for relief under Chapter 7 of the United States Bankruptcy Code

(the “Petition Date”).

      5.     Karin A. Garvin is the duly appointed and qualified Chapter 7 Trustee.

      6.     The Trustee held and concluded the 341 meeting of creditors on

             10/08/2020.

                                 7.
The Debtor/Debtors scheduled a 100% ownership interest in the real property
located at 1850 HWY C 180 BAKER, FL 32531 (the “Property”) and legally
described as follows:


Legal Description: SEC/TWN/RNG/MER:SEC 03 TWN 05N RNG 24W COM
SW COR OF SEC E1787.92 FT TO W R/W STA HWY #41 N1211.10 FT N67
DEG W MAP REF:MAP 4



      8.     The Debtor scheduled the Property as having a value of $122,966.00

subject to a mortgage in favor of Mr. Cooper (the “Secured Creditor(s)”) in the

amount owed on the Petition Date of approximately $198,018.52


      9.     The Trustee, after reviewing certain materials, including (without

limitation) the sales analysis report and opinion of value for the Property provided

by BK Global (“BKRES”) and Assurance Realty of NWFL (the “Listing Agent”),

has determined it to be in the best interest of the Debtor’s estate and all creditors to

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negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to:

             a. sell the Property to whichever third party Trustee determines to have

                made the best qualified offer during a public sale approved by the

                Court;

             b. release the Senior Mortgage and otherwise waive all of its claims

                against the estate with respect to the Property (including any

                deficiency claims resulting from the proposed sale); and

             c. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses

                associated with the proposed sale, including the payment of a 6%

                real estate brokerage commission to BKRES and Listing Agent and

                reimbursement of their out-of-pocket expenses, and provide a Carve

                Out and/or Buyer’s Premium for the benefit of allowed unsecured

                creditors of the Debtor’s estate.

      10. The Secured Creditor has represented and warranted that it possesses a

valid, perfected, enforceable and unavoidable first mortgage lien on the Property by

virtue of a promissory note and mortgage recorded in the Official County Records.

(the “Secured Creditor Indebtedness”).



                             RELIEF REQUESTED

      11.    The Trustee requests the entry of an order pursuant to Section 363 of

the Bankruptcy Code approving the sale of the Property, using the services of

BKRES and Listing Agent, free and clear of all liens, claims, encumbrances, and
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interests. As a material inducement to the Trustee’s decision to pursue the proposed

sale, the Secured Creditor consents to the Property’s sale and the creation of a Carve-

Out Fund (the “Carve-Out Fund”) and/ or the Buyer(s) consents to the payment of a

Buyer’s Premium that will provide for the costs of this case to be paid and provide

a recovery for other creditors. The Trustee requests that any creditor (other than the

Secured Creditor) asserting an interest or secured claim against the Property be

required to assert no later than 5 days prior to the hearing on the instant Motion, and

substantiate the basis for such asserted interest or secured claim, or the Court will

authorize the sale of the Property free and clear of any such asserted interest or

security interest, with such claims, at best, being treated as a general unsecured

claim.

                                BASIS FOR RELIEF

                A.    The Sale of the Property Should Be Approved

         12.    The Trustee seeks the Court’s authority to sell the Property free and

clear of all liens, claims, encumbrances, and interests whose holders have been duly

noticed with this Motion but otherwise “As-Is, Where-Is” and without

representations or warranties of any type, express or implied, being given by the

Trustee and her professionals, pursuant to the Sale procedures described below.

         13.    Pursuant to Section 363(b) of the Bankruptcy Code, a Trustee, after

notice and hearing, may use, sell, or lease property of the Debtor’s estate other than

in the ordinary course of business. The Court should approve the sale if the Trustee

can demonstrate a sound business justification for the sale and if the sale process is
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fair, open, and reasonable. See Official Comm. Of Unsecured Creditors of LTV

Aerospace & Defense Co. v. LTV Corp. (In re Chateaugay Corp.), 973 F.2d 141,

143 (2d Cir. 1992); see also In re Sarah’s Tent, LLC, 396 B.R. 571, 573 (Bankr.

S.D. Fla. 2008). Further, Bankruptcy Rule 6004(f) contemplates sales outside of the

ordinary course of business.

      14.    The Trustee, through the services of BKRES and Listing Agent, have

listed the property and accepted an offer that has been approved by the Secured

Creditor and will result in a carve-out for the Bankruptcy Estate of $0 and a buyer’s

premium of $6,000.00. Attached as Exhibits “A” and “B” respectively are the

settlement statement and letter(s) of consent/approval from the Secured Creditor(s).

      15.    Accordingly, the Trustee submits that the sale of the Property pursuant

to the above process is reasonable under Section 363(b) of the Bankruptcy Code.




      B.     The Sale of the Property Should Be Approved Free and Clear
                  of All Interests

      16.    Pursuant to Section 363(f) of the Bankruptcy Code, the Trustee may

sell property free and clear of any interest in such property in an entity other than the

estate if (1) permitted under applicable non-bankruptcy law; (2) the party asserting

such interest consents; (3) the interest is a lien and the purchase price at which the

property is to be sold is greater than the aggregate value of all liens on the property;

(4) the interest is the subject of a bona fide dispute; or (5) the party asserting the

interest could be compelled, in a legal or equitable proceeding, to accept a money
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satisfaction for such interest. See In re Smart World Techs., LLC, 423 F.3d 166, 169

n.3 (2d Cir. 2005) (“Section 363 permits sales of assets free and clear of claims and

interests . . . It thus allows purchasers . . . to acquire assets [from a debtor] without

any accompanying liabilities.”); see also In re MMH Auto. Group, LLC, 385 B.R.

347, 367 (Bankr. S.D. Fla. 2008).

           17.      The Trustee states that she shall satisfy Section 363(f)(2) of the

Bankruptcy Code because the Secured Creditor consents to a sale of the property

under Section 363(f)(2) of the Bankruptcy Code, free and clear of all liens, claims,

encumbrances, and interests.

           18. The Trustee requests that any creditor (other than the Secured Creditor)

asserting an interest or secured claim against the Property, after proper notice is

given, be required to timely assert and substantiate the basis for such asserted interest

or secured claim, by filing and serving responsive papers no later than 5 days prior

to the hearing on the instant Motion, or the Court will authorize the sale of the

Property free and clear of any such asserted interest or security interest, with such

claims, at best, being treated as a general unsecured claim.1 Failure to object after

proper notice and opportunity to object is deemed consent. See BAC Home Loans

Servicing LP v. Grassi, 2011 WL 6096509 (1st Cir. BAP Nov. 21, 2011); Citicorp

Homeowners Servs., Inc. v. Elliott, 94 B.R. 343 (E.D. Pa. 1988); In re Gabel, 61

B.R. 661 (Bankr. W.D. La. 1985); Futuresourse LLC v. Reuters Ltd., 312 F.3d 281



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    The Trustee reserves the right to dispute the alleged amount of any such claim both to validity and amount.
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(7th Cir.); In re Harbour E. Dev., Ltd., 2012WL1851015, at *12 (Bankr. S.D. Fla.,

May 21, 2012).

      19.      Accordingly, under Section 363(f)(2) of the Bankruptcy Code, the

Trustee seeks authority to sell the Property free and clear of all liens, claims,

encumbrances, and interests whose holders have been duly noticed but otherwise

“As-Is, Where-Is” and without representations or warranties of any type given by

the Trustee or her professionals. Notwithstanding that the Trustee will seek authority

to execute all documents and instruments he deems reasonable, necessary and/or

desirable to close the sale, the only documents that the Trustee shall be required to

deliver to close shall be (a) a Trustee’s Deed, and (b) a copy of the Final Sale Order.

      20.      The Secured Creditor agrees to pay at closing (1) all outstanding real

estate taxes, including any prorated amounts due for the current tax year; (2) if

applicable, the lesser of any HOA fees accrued post-petition or the equivalent to

twelve months’ assessments and (3) all closing costs excluding professional fees but

including State Documentary Stamps for the entire closing price pursuant to Florida

Statue Sections 201.01 and 201.02; (4) the Carve-Out Fund, if any to the Trustee.

Any payments by the Secured Creditor as stated herein shall be subject to any and

all limitations on the Secured Creditor’s liability for any fees and costs under

applicable law. The Buyer(s) agree to pay at closing the Buyer’s Premium, if any to

the Trustee.

      C.       The Sale Will Be Undertaken by the Buyer in Good Faith

      21.      Section 363(m) of the Bankruptcy Code protects a good faith
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purchaser’s interest in property purchased from a debtor notwithstanding that the

sale conducted under section 363(b) was later reversed or modified on appeal.

      22.      The sale should be found to have been in good faith if the Trustee can

demonstrate the transaction occurred at arm’s-length and without fraud or collusion.

See Kabro Assocs. of West Islip, LLC v. Colony Hill Assocs. (In re Colony Hill

Assocs.), 111 F.3d 269, 276 (2d Cir. 1997) (“Typically, the misconduct that would

destroy a purchaser’s good faith status at a judicial sale involves fraud, collusion

between the purchaser and other bidders or the trustee, or an attempt to take grossly

unfair advantage of other bidders.” (citation omitted)); see also In re Lorraine

Brooke Associates, Inc., No. 07-12641 2007 WL 2257608 (Bankr. S.D. Fla. Aug. 2,

2007) (holding that a sale was entitled to the protections of Section 363(m) of the

Bankruptcy Code when it was based upon arm’s length bargaining and without

collusion).

      23.      The Trustee asserts that the sale of the Property will utilize a

competitive and transparent marketplace that facilitates an arm’s-length sale without

fraud or collusion. Accordingly, the Trustee respectfully requests that the Court find

that the purchaser(s) will be entitled to the protections of Section 363(m) of the

Bankruptcy Code.

      24.      The Trustee further states that:

               (a)   the Trustee has reviewed the tax implications of the proposed

Sale and has determined that the proposed sale will not result in a capital gains tax

event to the estate or other taxable event which would negate the benefit realized
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from the Carve-Out Fund or Buyer’s Premium;

              (b)    the Trustee has determined, based upon a review of the schedules

and information derived from the 341 meeting, that there will likely be a meaningful

distribution to creditors based upon the understanding that the final sale price and

the total dollar amount of claims to be filed in this case are both unknown and can

only be estimated at this time; and

              (c)    Given the information available at this time, the Trustee has

made an educated evaluation and determined that the proposed Sale is in the best

interest of the estate and its creditors.

       25. The Trustee respectfully requests that this Court: (a) waive the 14 day stay

pursuant to Rule 6004(h), deem the sale order enforceable immediately upon entry,

and authorize the Trustee to close on the sale immediately upon entry of the Final

Sale Order; (b) authorize the Trustee to take all actions and execute all documents

she deems reasonable, necessary and/or desirable to effectuate the requested relief;

(c) retain sole and exclusive personal subject matter jurisdiction to implement,

interpret and enforce the terms of the this Motion and the Final Sale Order; and (d)

adjudicate all claims, controversies and/or disputes arising from or related to the

proposed sale.

                                    CONCLUSION

       WHEREFORE, the Trustee respectfully requests that the Court enter an Order

approving the short sale of the Property pursuant to Sections 105 and 363 of the


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Bankruptcy Code and for such other and further relief as this Court deems just

and equitable under the circumstances of the case.


                                            RESPECTFULLY SUBMITTED,
                                            /s/ Karin A. Garvin, Trustee
                                            1801 W. Garden Street
                                            Pensacola, FL 32502
                                            Phone: (850) 437-5577
                                            E-mail: kgarvin@kgarvinlaw.com




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